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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                            CASE NO. 1:04-cr-00006-MP-AK

KENNETH BERNARD MILES, et al,
    a/k/a Kenny Lamar Brown
    a/k/a Kent Lamar Brown
    a/k/a Kenneth Lamar Miles

                      Defendant
                                     /

                             FINAL ORDER OF FORFEITURE

        THIS CAUSE CAME before the Court on the Motion of the United States of America for

a Final Order Of Forfeiture. Being fully advised in the premises, the Court finds as follows:

        WHEREAS, on March 29, 2006, this Court entered a Preliminary Order Of Forfeiture against

the following property:

               A.     $30,000.00 In U.S. Currency

               B.     2718 Eastwood Drive, Decatur, Dekalb County, Georgia

               C.     $13,139.76 In Lieu of Real Property Located at 4107 Harvest Ridge
                      Drive, Douglasville, Douglas County, Georgia

               D.     1830 Hannah Place, Powder Springs, Georgia 30127-1323

               E.     461 Ira Street, Atlanta, Georgia, more particularly described as:

               ALL THAT TRACT OR PARCEL OF LAND lying and being in the City of Atlanta
               in Land Lot 85 of the 14th District of Fulton County, Georgia, and more particularly
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                 described as follows:

                          Beginning at a point on the west side of Ira Street four hundred seventy and
                          six tenths(470.6) feet north of the northwest corner of Ira and Richardson
                          Streets, and running thence north along the west side of Ira Street thirty three
                          (33) feet; thence west one hundred fifty (150) feet to a 10 foot alley; thence
                          south along the east line of said 10 foot alley thirty three (33) feet; thence
                          east one hundred fifty (150) feet to the west side of Ira Street and the point
                          of beginning, according to plat of survey of Mrs. Georgia Gaston made by
                          Harold L. Bush, Registered Surveyor #15, January 12, 1951, a copy being on
                          file in the office of Atlanta Title Company, and being improved property
                          known as 461Ira Street, S.W., according to the present number of houses in
                          the City of Atlanta.

                 F.       Any profits from the sale of 2587 Bankhead Highway, NW, Atlanta,
                          Fulton County, Georgia

                 G.       Any profits from the sale of 2533 Bellview Avenue, Atlanta, Fulton
                          County, Georgia

pursuant to the provisions of 21 U.S.C. § 853; and

        WHEREAS, Sherry Priester has agreed to forfeit $20,000 in lieu of 1830 Hannah Place,

Powder Springs, Georgia.

        WHEREAS, on May 1st, 8th, and 15th, 2006, the United States of America caused to be

published in the Atlanta Journal Constitution, a newspaper of general circulation, notice of this

forfeiture and the intent of the United States of America to dispose of the property, in accordance

with the law, further notifying all third parties of their right to file a petition setting forth their

interest in said property; and

        WHEREAS, on or about February 13, 2008, Sherry Priester, through her attorney, waived

service of process and consented to the forfeiture of the property described below; and

        WHEREAS, no persons or entities having an interest in the above-referenced property have

filed petitions, it is hereby



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        ORDERED, ADJUDGED and DECREED that the right, title and interest to:

        A.       $30,000.00 U.S. Currency

        B.       $13,139.76 In Lieu of Real Property Located at 4107 Harvest Ridge Drive,
                 Douglasville, Douglas County, Georgia

        C.       461 Ira Street, Atlanta, Georgia, more particularly described as:

                 ALL THAT TRACT OR PARCEL OF LAND lying and being in the City of Atlanta
                 in Land Lot 85 of the 14th District of Fulton County, Georgia, and more particularly
                 described as follows:

                          Beginning at a point on the west side of Ira Street four hundred seventy and
                          six tenths(470.6) feet north of the northwest corner of Ira and Richardson
                          Streets, and running thence north along the west side of Ira Street thirty three
                          (33) feet; thence west one hundred fifty (150) feet to a 10 foot alley; thence
                          south along the east line of said 10 foot alley thirty three (33) feet; thence
                          east one hundred fifty (150) feet to the west side of Ira Street and the point
                          of beginning, according to plat of survey of Mrs. Georgia Gaston made by
                          Harold L. Bush, Registered Surveyor #15, January 12, 1951, a copy being on
                          file in the office of Atlanta Title Company, and being improved property
                          known as 461Ira Street, S.W., according to the present number of houses in
                          the City of Atlanta.

        D.       $20,000 in lieu of 1830 Hannah Place, Powder Springs, Georgia 30127-1323


is hereby condemned, forfeited and vested in the United States of America, and shall be disposed

of in accordance with the law.


        DONE AND ORDERED this 27th day of February, 2008


                                          s/Maurice M. Paul
                                     Maurice M. Paul, Senior District Judge




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